                                               United States Bankruptcy Court
                                               Western District of New York
In re:                                                                                                     Case No. 18-21022-PRW
Amy T Demanchick                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0209-2                  User: sputnam                      Page 1 of 1                          Date Rcvd: Oct 03, 2018
                                      Form ID: defyBK2                   Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 05, 2018.
db             +Amy T Demanchick,   80 Andy Lane,   Rochester, NY 14606-4902

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 05, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 3, 2018 at the address(es) listed below:
              Kenneth W. Gordon   lgordons@rochester.rr.com, N251@ecfcbis.com;kwg@trustesolutions.net
                                                                                            TOTAL: 1




              Case 2-18-21022-PRW, Doc 11, Filed 10/05/18, Entered 10/06/18 01:02:40,
                           Description: Imaged Certificate of Notice, Page 1 of 2
UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

In Re:                                                  Case No.: 2−18−21022−PRW
                                                        Chapter: 7
       Amy T Demanchick
                                                        SSN: xxx−xx−3713
                        Debtor(s)

                                 CASE OPENING DEFICIENCY
To the Debtor(s):

The following case opening deficiencies are noted and must be promptly corrected:

 • Missing Schedules/Statements: Schedules A−J, Form 106Sum Summary of Assets &
   Liabilities, Form 106Dec Declaration About Debtors Schedules, Form 107 Statement of
   Financial Affairs, Form 108 Statement of Intention, Form 122A−1 Ch 7 Statement of Your
   Current Monthly Income


Please call the Clerk's office at (585) 613−4200 for additional questions.


   Date: October 3, 2018                 Lisa Bertino Beaser, Clerk of the Bankruptcy Court
                                         By: S. Putnam, Deputy Clerk
Form defyBK2/Doc 6
www.nywb.uscourts.gov




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                      Description: Imaged Certificate of Notice, Page 2 of 2
